Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 1 of 40 PageID: 441
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 2 of 40 PageID: 442
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 3 of 40 PageID: 443
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 4 of 40 PageID: 444
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 5 of 40 PageID: 445
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 6 of 40 PageID: 446
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 7 of 40 PageID: 447
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 8 of 40 PageID: 448
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 9 of 40 PageID: 449
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 10 of 40 PageID: 450
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 11 of 40 PageID: 451
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 12 of 40 PageID: 452
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 13 of 40 PageID: 453
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 14 of 40 PageID: 454
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 15 of 40 PageID: 455
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 16 of 40 PageID: 456
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 17 of 40 PageID: 457
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 18 of 40 PageID: 458
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 19 of 40 PageID: 459
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 20 of 40 PageID: 460
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 21 of 40 PageID: 461
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 22 of 40 PageID: 462
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 23 of 40 PageID: 463
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 24 of 40 PageID: 464
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 25 of 40 PageID: 465
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 26 of 40 PageID: 466
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 27 of 40 PageID: 467
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 28 of 40 PageID: 468
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 29 of 40 PageID: 469
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 30 of 40 PageID: 470
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 31 of 40 PageID: 471
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 32 of 40 PageID: 472
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 33 of 40 PageID: 473
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 34 of 40 PageID: 474
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 35 of 40 PageID: 475
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 36 of 40 PageID: 476
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 37 of 40 PageID: 477
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 38 of 40 PageID: 478
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 39 of 40 PageID: 479
Case 2:05-cr-00858-WHW   Document 87   Filed 06/17/09   Page 40 of 40 PageID: 480
